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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Case No.: 21-CR-087 (TJK)
MICHAEL SPARKS,                              :
                                             :
               Defendant.                    :


                                 NOTICE OF APPEARANCE

       The United States of America by and through the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Sonia Mittal is

entering her appearance in this matter on behalf of the United States.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052


                                      By:    /s/ Sonia Mittal____________________
                                             SONIA MITTAL
                                             Assistant United States Attorney
                                             United States Attorney’s Office for the
                                             District of Columbia
                                             Illinois Bar No. 6314706
                                             sonia.mittal@usdoj.gov
                                             (202) 821-9470
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                                CERTIFICATE OF SERVICE

       On this 24th day of October 2022, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                                     /s/ Sonia Mittal _____________
                                                     SONIA MITTAL
                                                     Assistant United States Attorney
